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8                                UNITED STATES DISTRICT COURT
9                            CENTRAL DISTRICT OF CALIFORNIA
10     LUCAS CRANOR, individually and            )   CASE NO. 8:22-cv-01404-JVS-ADS
11     on behalf of others similarly situated,   )
                                                 )   ORDER GRANTING JOINT
12                  Plaintiff,                   )   STIPULATED REQUEST TO
13                                               )   CONTINUE FORTHCOMING
       v.                                        )   DEADLINES IN ANTICIPATION
14                                               )   OF CONSOLIDATION MOTION
15     ILLUMINATE EDUCATION, Inc.                )
       d/b/a PUPIL PATH,                         )   Class Action Complaint Filed: July 28,
16                                               )   2022
17                  Defendant.                   )
                                                 )   Judge:       James V. Selna
18                                               )   Hearing:     None Set
19                                               )   Time:        None Set
                                                 )   Courtroom:   None Set
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28                                                          PROPOSED ORDER GRANTING
                                                      STIPULATED REQUEST TO CONTINUE
                                                              FORTHCOMING DEADLINES
                                                        CASE NO. 8:22-CV-01404---JVS--ADS
     Case 8:22-cv-01404-JVS-ADS Document 19 Filed 08/10/22 Page 2 of 3 Page ID #:134



1        ORDER GRANTING JOINT STIPULATED REQUEST TO CONTINUE
2      CURRENT DEADLINES IN ANTICIPATION OF CONSOLIDATION MOTION

3           Having considered the Joint Stipulated Request to Continue Forthcoming Deadlines

4     in Anticipation of the Parties’ Consolidation Motion, being fully advised in the matter, and

5     good cause appearing, the Court hereby GRANTS the Stipulated Request. The Parties

6     have represented that they intend to move to formally consolidate Kisil v. Illuminate

7     Education, Inc., No. 8:22-cv-01164-JVS-ADS (C.D. Cal.) with this matter. Defendant has

8     further represented that it has moved to transfer the federal case styled Chung v. Illuminate

9     Education, Inc., No. 1:22-cv-03310-HG (E.D.N.Y.) to this Court, and the Parties will

10    include that matter in their consolidation motion if transfer is granted. Therefore, following

11    a ruling on the Chung motion to transfer, the following deadlines shall apply:

12          1.     The Parties shall have 14 days to file a formal motion to consolidate and

13    Plaintiffs shall have 14 days to file a motion or stipulation for the appointment of lead

14    counsel.

15          2.     Within 60 days of the ruling on the motion to consolidate and/or appointment

16    of interim lead counsel, Plaintiffs shall file their consolidated complaint.

17          3.     Defendant shall then have 60 days to file its motion to dismiss the

18    consolidated complaint, Plaintiffs shall have 45 days to respond to Defendant’s motion to

19    dismiss, and Defendant shall have 30 days to reply.

20        IT IS SO ORDERED.
       DATED: August 10, 2022
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                                                  Honorable James V. Selna
23                                                United States District Judge
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27                                                            PROPOSED ORDER GRANTING
28                                                      STIPULATED REQUEST TO CONTINUE
                                                                FORTHCOMING DEADLINES
                                                          CASE NO. 8:22-CV-01404---JVS--ADS
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     Case 8:22-cv-01404-JVS-ADS Document 19 Filed 08/10/22 Page 3 of 3 Page ID #:135



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28                                                     PROPOSED ORDER GRANTING
                                                 STIPULATED REQUEST TO CONTINUE
                                                         FORTHCOMING DEADLINES
                                                   CASE NO. 8:22-CV-01404---JVS--ADS
